 Case 1:17-cv-00053-RGA Document 47 Filed 08/28/17 Page 1 of 2 PageID #: 574



                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

JANE DOE,                                       :
Individually and on behalf of all others        :
Similarly situated                              :
                                                :
       Plaintiff,                               :
                                                :
                       v.                       :
                                                :
TRINITY LOGISTICS, INC.,                        :    Civil No. 1:17-cv-00053RGA
a Delaware corporation,                         :
                                                :
PINKERTON CONSULTING AND                        :
INVESTIGATIONS,                                 :    JURY DEMAND
a Delaware limited liability company,           :
                                                :
       Defendants.                              :


    DEFENDANT’S, TRINITY LOGISTICS, INC., PARTIAL MOTION TO DISMISS
      PLAINTIFF’S SECOND AMENDED COMPLAINT AND/OR TO STRIKE
                       PLAINTIFF’S CLASS CLAIMS

       Defendant, Trinity Logistics, Inc., hereby moves this Honorable Court for partial

dismissal of plaintiff’s Second Amended Complaint pursuant to Federal Rule 12(b)(6) and to

strike plaintiff’s class allegations pursuant to Federal Rule 12(f). This motion is based on the

accompanying opening brief and any appendices attached thereto, filed concurrently herewith.




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Case 1:17-cv-00053-RGA Document 47 Filed 08/28/17 Page 2 of 2 PageID #: 575




                                         Respectfully submitted



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